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14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18   MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
     themselves and all others similarly situated,
19
                                   Plaintiffs,       META PLATFORMS, INC.’S REPLY
20                                                   MEMORANDUM IN SUPPORT OF
            v.                                       MOTION TO EXCLUDE TESTIMONY
21                                                   OF NICHOLAS ECONOMIDES
     META PLATFORMS, INC., a Delaware
22   Corporation,
                                                     Judge: Hon. James Donato
23                                 Defendant.
                                                     Hearing Date: December 14, 2023
24                                                   Time: 10:00 a.m.
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 1                                          INTRODUCTION

 2          Users’ opposition only confirms that the opinions of putative expert Nicholas Economides

 3   should be excluded as inadmissible junk science.

 4          First, Users claim that “Real-World Examples, Extensive Record Evidence, and Accepted

 5   Economic Theory and Literature” support Economides’s opinion that in his but-for world, Meta

 6   would have paid its users. Not so. No economic theory or literature supports the speculation that

 7   Meta would have responded to competition by paying users (which no one has ever done) rather

 8   than by innovating and creating more engaging content (as Meta and all its competitors have
 9   always done in the real world). Users do not cite any “real world examples” of a platform paying
10   users just to use it, whatever competition it faced. Instead, their record evidence shows that Meta
11   already offers users a valuable service, supported through ads, and that Meta would never upend
12   this established business model for another, never-before-seen one. That is why Meta rejected
13   every instance Users identify of someone hypothesizing paying users—and even then, Users never
14   point to anyone ever considering all users getting uniform payments. An expert cannot simply
15   proclaim that he thinks some unspecified increment of additional competition would transform an
16   attention platform that provides content that users value and enjoy into a market research firm that
17   must pay its participants. Users’ opposition shows that Economides’s guess is all he has.
18          Second, Users claim Economides reliably used a yardstick method. A reliable yardstick

19   study, however, must adjust for the indisputable differences between Facebook and Economides’s

20   market research program “yardsticks.” But Economides made no adjustments to the price those

21   programs pay and the price he claims Meta would have paid Facebook users. Skipping that critical

22   step makes his opinion unreliable and inadmissible.

23          Third, Users argue that Economides can offer his personal, lay opinion that Facebook’s

24   data practices and user settings were “confusing” in rebuttal to Meta’s expert Catherine Tucker

25   and because Economides’s academic studies have included privacy. This opinion is neither rebuttal

26   nor within Economides’s academic purview. And even if it were, Economides still could not offer

27   what he concedes is                        that he came to simply                            Ex. 3,

28

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 1   Economides Tr. 47:24-48:6. 1 Expert testimony must be grounded in “the expert’s scientific,

 2   technical, or other specialized knowledge” in a way that “will help the trier of fact to understand

 3   the evidence or to determine a fact in issue.” Fed. R. Evid. 702. Economides’s idiosyncratic

 4   experiences and subjective conclusions about whether Facebook’s disclosures are “confusing” (a

 5   view that courts have disagreed with as a matter of law) does not fit the bill.

 6                                              ARGUMENT

 7   I.       ECONOMIDES’S IPSE DIXIT OPINION THAT META WOULD HAVE RESPONDED TO MORE

 8            COMPETITION BY PAYING ITS USERS SHOULD BE EXCLUDED
 9            Opining on the but-for world is not license to dream up a fantasy world. An expert cannot
10   say the sky is green—or that it would be green in his but-for world—based just on his say so.
11   Courts thus exclude opinions where “there is simply too great an analytical gap between the data
12   and the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997); McGlinchy v. Shell
13   Chem. Co., 845 F.2d 802, 807 (9th Cir. 1988) (affirming exclusion of opinion that “rests on
14   unsupported assumptions” and “has scant basis in the record”); Persian Gulf Inc. v. BP W. Coast
15   Prods. LLC, 632 F. Supp. 3d 1108, 1168 (S.D. Cal. 2022) (excluding opinion lacking “some logical
16   relationship to the evidence in the case”). That is the case here.
17            Economides’s central opinion is that “in the but-for (i.e., competitive) world, Facebook
18   would have had to compensate its users for their data.” Opp. 5. This is a bold claim that ignores

19   entry and market participation in his own alleged market. Facebook competes for user time and

20   attention, as Economides concedes. See Ex. 1, Economides Rep. ¶ 225. 2 So when Snapchat began

21   capturing attention with fleeting pictures and videos in a feed, Meta did not respond by

22                                                            . It did the obvious—it created Stories with

23   new and engaging features. When Tik Tok emerged, Meta didn’t

24   1
       Unless otherwise noted, emphasis is added and “Ex.” citations reference exhibits 1-7 to the
25   Gringer Declaration, Dkt 650-1, exhibits 8-12 to the Supplemental Gringer Declaration, Dkt. 653,
     or exhibits 13-19 to the Gringer Reply Declaration submitted herewith.
     2
26     The parties dispute how to define the market in which Facebook competes, see Meta’s Opp. to
     Users’ Motion for Class Certification, Section I.C.2, contrary to Users’ assertion (made before
27   Meta filed its class certification opposition) that “Facebook has already
                                                           ” Opp. 7. But whether Facebook competes in
28
     Economides’s “Personal Social Network Market,” it indisputably competes with numerous other
     firms for user time and attention—which creates the incentives that Economides ignores.
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 1                           . It created Reels (and Snap created Spotlights and YouTube created Shorts).

 2   Snap and Tik Tok themselves, of course, did not compete with Meta by offering to pay users of

 3   their platforms. Like Meta, they competed by innovating. As Economides admits, no attention

 4   platform has ever responded to competition by paying all its users.

 5                                     Ex. 13, Economides Tr. 84:11-16. Courts exclude expert opinions

 6   that lack a basis in reality, see, e.g., McGlinchy, 845 F.2d at 807, and the Court should do so here.

 7           Users’ efforts to find the best “Real-World Examples,” “Record Evidence,” and “Economic

 8   Theory and Literature” for Economides’s wild claim, Opp. 5-10, fail to save him from exclusion.
 9           As an initial matter, no economic theory supports Economides’s opinion that Meta would
10   have competed by paying users rather than improving quality, such as with new features. Users
11   argue that “Where, as here, the starting money price is ‘zero,’ additional competition should drive
12   the money price to be ‘negative,’ such that users receive compensation.” Opp. 2. Economides
13   testified that
14

15                          Ex. 13, Economides Tr. 102:16-19. But no economic theory bridges the gap
16   between how Meta actually competes (on quality) and how Economides speculates it would.
17   Users’ sources instead recognize that “markets where goods are free will be dominated by the best
18   quality firm and others may compete only in so far as they can differentiate their offers and target

19   different customers.” STIGLER COMM. ON DIGIT. PLATFORMS, MARKET STRUCTURE AND

20   ANTITRUST SUBCOMMITTEE REPORT 55 (July 2019). Users’ putative expert Joseph Farrell agrees:

21

22

23

24                                                               Ex. 14, Farrell Rep. ¶ 57. The fact that

25   “negative prices” exist in some unique situations, like certain markets for hard-to-store

26   commodities such as electricity or oil, 3 does not show that this market for time and attention would

27   have converted to that unusual model with an undefined amount of additional competition.

28   3
      See, e.g., Bloomberg, “One Corner of U.S. Oil Market Has Already Seen Negative Prices”
     (March 27, 2020).
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 1          Users’ alleged “real world examples” are nothing of the sort. None of Facebook’s “Study

 2   and Research programs” or “companies like Google, Nielsen, Comscore, and Amazon” pays

 3   people just for using an attention platform. Opp. 6. Ideas that Meta rejected are not “real world”

 4   examples of anything. The case Users rely on, In re Glumetza Antitrust Litigation, 2021 WL

 5   1817092 (N.D. Cal. May 6, 2021), supports this Court’s view that it does not “get you anywhere”

 6   to “stand up and tell the jury, ‘Here’s a program. They never did it, but they thought about it.’”

 7   June 22, 2023 Hr’g Tr. 22:2-6. In Glumetza, Judge Alsup held that it was irrelevant whether

 8   defendants “contemplated any of plaintiffs’ but-for scenarios.” 2021 WL 1817092, at *13. Rather,
 9   he denied defendants summary judgment because “plaintiffs offer cogent evidence”—“direct
10   evidence,” “competent evidence,” “adequate evidence” that he described over several pages—to
11   support a but-for world that “requires no speculation.” Id. at *13-*14. He explained, “We construct
12   the but-for world not out of whole cloth, but as a matter of reasoned deviation from the actual
13   world based upon our changed assumption of defendants’ lawful conduct.” Id. at *15.
14   Economides’s but-for world has no such real-world grounding and is underpinned solely by
15   speculation. It is “construct[ed] . . . out of whole cloth.” Id. When asked,
16                                                                                            Economides
17   could not give a single one. Ex. 3, Economides Tr. 115:13-17.
18          Recognizing this glaring deficiency, in their opposition Users for the first time point to

19   Meta offering Facebook Credits for viewing video ads in 2011 as supposed proof of real-world

20   payment to users. If this program was a “basis or reason[]” for Economides’s opinion, then Users

21   failed to disclose it as required because he never cites or references it in his reports. Fed. R. Civ.

22   P. 26(a)(2)(B)(i). In any event, a program offering Facebook Credits “in return for viewing video

23   ads” (Opp. 6) that was

24                                                                      offers no support that Meta would

25   have ever offered a uniform payment to all users just for using the platform. Ex. 15, PALM-

26   008405132; Ex. 16, PALM-011944933.

27          Users then cite a draft book chapter by Tucker that they claim “conceded” that “‘[t]here

28   are plenty of firms who have sought to set up businesses which would allow individuals to own

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 1   their data and trade it for monetary value.’” Opp. 6. But as Tucker explains there, the obscure firms

 2   she references (which are not social sites) failed to set up thriving businesses. Opp. Ex. 4 at 11-12.

 3   Tucker identifies some likely reasons why, and they are the exact reasons why she has opined that

 4   Economides’s uniform payment theory is nonviable: because “issues of adverse selection and

 5   moral hazard,” as well as the “ubiquity of data and non-rivalry of data,” “might intuitively plague

 6   attempts to create such markets.” Id. So Users remain where they started: without a single “real

 7   world example” of universal, uniform payment to use an attention platform.

 8          Nor do Users identify any “record evidence” suggesting Meta would pay users in the
 9   manner Economides speculates. Documents that Users argue show Meta
10                                                                       (Opp. 3) do not prove that Meta
11   would ever completely upend that value exchange by offering monetary payment instead of
12   engaging features. And the documents Users cite to claim that
13                                            (Opp. 3) are again rejected proposals, and none to pay all
14   Facebook users just to use it. See Opp. Ex. 9, PALM-013785714 (brainstorming
15

16                                                                                ); Opp. Ex. 10, PALM-
17   013788535
18

19                                                ; Opp. Ex. 11, PALM-013553009 (email from team that

20   was

21

22                                                 ); Opp. Ex. 12, PALM-013818575 at -013818628

23   (discussing an ultimately rejected idea to

24

25                                     ). Economides acknowledged this fact, stating,

26

27          and

28            Ex. 3, Economides Tr. 110:1-3, 110:5-6. As for Users’ reference to “average revenue per

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 1   user,” that Meta calculates its average revenue per user says nothing about Meta paying a flat

 2   amount to every user—as the term suggests, it is simply an average, with some users providing

 3   higher revenue to Meta and others providing                      Ex. 17, Baser Tr. 273:14-275:17; see

 4   also Ex. 18, J. Eide Tr. 273:20-274:5 (noting                                                 ).

 5   II.     ECONOMIDES FAILED TO ACCOUNT AND ADJUST FOR MAJOR DIFFERENCES BETWEEN

 6           HIS PUTATIVE YARDSTICKS AND FACEBOOK

 7           Courts exclude purported “yardstick” analysis that fails to account for major differences

 8   between the supposed yardsticks and the market or firm at issue. Yardsticks must be comparable
 9   to the market or firm at issue to be reliable. Mot. 9-13; see also, e.g., Image Tech. Servs., Inc. v.
10   Eastman Kodak Co., 125 F.3d 1195, 1222 (9th Cir. 1997) (there must be “meaningful economic
11   similarity between [defendants] and the firms used for comparison”); Home Placement Serv., Inc.
12   v. Providence J. Co., 819 F.2d 1199, 1206 (1st Cir. 1987) (“Central to this so-called ‘yardstick’
13   approach to proving antitrust damages is the requirement the plaintiff identify a sufficiently
14   comparable firm (the ‘yardstick’) against which it can measure its quantum of damages.”);
15   Shannon v. Crowley, 538 F. Supp. 476, 481 (N.D. Cal. 1981) (“The yardstick method requires a
16   comparison of the plaintiff’s own business with one nearly as identical as possible.”); Phillip E.
17   Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
18   Application ¶ 392 (4th & 3d eds., 2023 Cum. Supp. 2018-2023) (“The major difficulty encountered

19   in the use of a yardstick is finding a suitable one. The central idea behind the yardstick approach

20   is to find a firm that is comparable in all important respects to the plaintiff.”).

21           There is no dispute how this methodology ought to work, despite Users’ efforts to drum

22   one up. Yardsticks need not be “perfectly identical.” Opp. 14. Nor must they come from the same

23   product market. See Dkt. 663-1 at 5 (Meta’s Opp. to Users’ Mot. to Exclude Tucker). They must

24   be “comparable” and “[i]f there is an important difference that is beyond adjustment, this approach

25   will have to be abandoned.” Mot. 10 (quoting Areeda & Hovenkamp ¶ 395b3).

26           For that reason, failing to adjust for material differences is not “fodder for cross-

27   examination” or a “factual criticism.” Opp. 10. It is a methodological fatal flaw that renders the

28   analysis unreliable and inadmissible. See, e.g., In re Live Concert Antitrust Litig., 863 F. Supp. 2d

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 1   explained nothing about this                     Economides cannot claim his failure to perform a

 2   necessary step in yardstick analysis was uniformly “conservative”—he hasn’t done the work.

 3   III.   BEFORE BEING RETAINED, ECONOMIDES THOUGHT PAYMENT WOULD GO TO ONLY

 4          SOME USERS, AND TO THOSE FEW IN INDIVIDUALIZED, UNEQUAL AMOUNTS
 5          Economides’s scholarship about hypothetical payment by attention platforms is fatal to

 6   Users’ class certification bid. Meta pointed this out (Mot. 9) but did not offer it as an independent

 7   basis to exclude his opinions. Users nevertheless build a strawman exclusion argument. Meta

 8   won’t say much about this supposed debate over what Economides did or didn’t write—his short
 9   article on the subject is attached for the Court’s reference. See Ex. 19. Here is the key part:
10                  In the competitive world, users by default would opt-out from the market
            for sale of personal information. If a user wanted to enter this market, she would
11          opt-in, sell her personal information and get compensated by the digital platform.
            Compensation would depend on the value of the information of a particular user to
12          the platform. A user would accept the offer and participate in market B [the market
13          for sale of personal information] if the monetary compensation exceeds her value
            of the loss of privacy implied by the transaction.
14                  Users vary widely on the value they place on privacy and in the value of
15          their personal information to the platform. Therefore, in a competitive market for
            personal information, some users would participate, and others would not.
16          Transaction prices for the sale of personal information would also vary and likely
            be individually negotiated between the platform and the user.
17
     Ex. 19, Economides & Lianos, Giving Away.
18
            It is clear why Users are worried about this prior scholarship. It establishes “the possible
19
     presence of uninjured class members,” which “means that the class definition is fatally overbroad.”
20
     Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 669 (9th Cir. 2022)
21
     (en banc). It also shows “the complexity of the individualized questions” of “individualized injury
22
     and damages assessments” in this case, which make class certification “improper.” Bowerman v.
23
     Field Asset Servs., Inc., 60 F.4th 459, 469, 471 (9th Cir. 2023). In short, it shows that, if the views
24
     of Economides the scholar are accepted, the Court cannot certify the Users’ class.
25
     IV.    ECONOMIDES CANNOT OPINE THAT PRIVACY POLICES ARE “CONFUSING”
26
            Economides’s opinion in Section IV(C) of his reply report that “Facebook’s Data Practices
27
     and User Settings Were Confusing” has no basis but his personal interpretation of documents in
28
     the record, as a layperson. Economides agreed: his opinion that Facebook’s privacy policy is

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 1   complex is                      that he came to not as an economist but                       Ex. 3,

 2   Economides Tr. 47:24-48:6. This opinion should be excluded.

 3          Users respond that Economides can offer these opinions (1) to rebut Meta’s expert

 4   Catherine Tucker, or at least to offer background for his rebuttal, or (2) because Economides’s

 5   “academic work has involved issues regarding privacy.” Opp. 15. Both responses are off base.

 6          First, Economides’s restatement and interpretation of record evidence in Section IV(C) is

 7   not a rebuttal to Tucker. The one paragraph of Tucker’s report cited in Section IV(C)—or in Users’

 8   opposition—is Paragraph 59, which states in full:
 9

10                                                                          Economides’s Section IV(C)
11   neither analyzes nor even cites this academic literature or Named Plaintiffs’ behavior. The record
12   evidence that it restates, and the opinion that it offers that Facebook’s practices and settings were
13   “confusing,” say nothing about whether survey responses reliably reveal users’ preferences about
14   privacy or data collection and use. In any event, Users cite no case holding that experts may offer
15   unspecialized, lay opinion just so long as it is in rebuttal, and that is obviously wrong.
16          Nor does this section of Economides’s report merely “provide factual context,” Huawei
17   Techs., Co, Ltd v. Samsung Elecs. Co., Ltd., 340 F. Supp. 3d 934, 992-993 (N.D. Cal. 2018), or
18   “summarize the facts and data considered,” In re Glumetza Antitrust Litig., 2021 WL 3773621, at

19   *20 (N.D. Cal. Aug. 25, 2021). It just “restate[s] or summarize[s] record evidence and then state[s]

20   a conclusion”—that Facebook’s data practices and user settings were confusing—“without

21   applying a methodology that is reliable and which evinces [any] expertise.” Siqueiros v. Gen.

22   Motors LLC, 2022 WL 74182, at *9 (N.D. Cal. Jan. 7, 2022). That compels exclusion.

23          Second, it is irrelevant whether Economides’s academic work has involved privacy. At

24   issue is the opinion Economides offered in this case. That opinion was not based on any “scientific,

25   technical, or other specialized knowledge” at all, Fed R. Evid. 702(a), so it should be excluded.

26                                             CONCLUSION

27          The Court should exclude Economides’s testimony drawn from Parts X-XII of his opening

28   report and Section IV(C) and Parts VI-VII of his reply report.

     No. 3:20-cv-08570-JD                             -10-      META’S REPLY ISO MOTION TO EXCLUDE
                                                                TESTIMONY OF NICHOLAS ECONOMIDES
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 1    Dated: November 3, 2023                Respectfully submitted,

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                                                  TESTIMONY OF NICHOLAS ECONOMIDES
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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on this 3rd day of November, 2023, I electronically transmitted the

 3   foregoing document to the Clerk’s Office using the CM/ECF System.

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     No. 3:20-cv-08570-JD                                   META’S REPLY ISO MOTION TO EXCLUDE
                                                            TESTIMONY OF NICHOLAS ECONOMIDES
